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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT MISSISSIPPI


IN RE: JAMIE WREN                                               Case No. 18-14948-JDW
       Debtor                                                   Chapter 13


       MOTION TO SET ASIDE DEFAULT ORDER GRANTING RELIEF FROM
                            AUTOMATIC STAY

        The Debtor, by and through counsel, requests that the Default Order Granting Relief from

Automatic Stay entered by this Court on July 8, 2019 be set aside in order for the Debtor to respond

to the Motion of 21st Mortgage Corporation and in support thereof aver as follows:

        1. The Debtor filed bankruptcy pursuant to Chapter 13 of the Bankruptcy Code on December

17, 2018 and his Chapter 13 Plan has not yet been confirmed. At the time of filing his Plan, Debtor

was current in his mortgage payment to 21st Mortgage Corporation and intended to continue to pay

said mortgage directly and not through his Plan payment. Debtor suffered time off work due to an

illness and discovered, even with his best intentions, he was unable to catch up his mortgage

payments and therefore, requested his Plan be amended to include his ongoing mortgage payments

and any arrearage.

        2. Due to a miscommunication between Debtor, his counsel and his counsel’s staff, a

 response was not timely filed to the Motion of 21st Mortgage. This failure to respond was the result

of a mistake, inadvertence or excusable neglect. If not set aside by this Court, the Debtor will suffer

irreparable harm.

        3. The Debtor has returned to work full-time and asserts he is able to afford the increased

payment. He will pay all payments due to the Trustee prior to a hearing to be held hereon.

        WHEREFORE, Debtor requests that the Default Order Granting Relief From Automatic Stay

be set aside so as to allow Debtor to Respond to the Motion filed by 21st Mortgage.
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                                    /s/Karen B. Schneller
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                                 CERTIFICATE OF SERVICE

          I, Karen B. Schneller, attorney for the Debtor, hereby certify that a copy of the
foregoing Motion to Set Aside Default Order Granting Relief From Automatic Stay has this day
been served upon the Chapter 13 Trustee, the U.S. Trustee and all creditors on the attached
matrix either by electronic means or by United States Mail.


         This the 24th day of July, 2019

                                           /s/Karen B. Schneller
                                           KAREN B. SCHNELLER
